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                  UNITED STATES DISTRICT COURT FOR THE
                        DISTRICT OF NEW HAMPSHIRE


United States of America

            v.                            Criminal No. 12-cr-11-(1-10)JL

Bellavance et al
                                  O R D E R


      The assented to motion to reschedule jury trial (document no.

73) filed by defendant Charles Sargent is granted; Final Pretrial

is rescheduled to October 26, 2012 at 3:00 p.m.; Trial is continued

as to all defendants to the two-week period beginning November 6,

2012, 9:30 a.m.

      Defendant Sargent shall file a waiver of speedy trial rights

within 10 days.      The court finds that the ends of justice served by

granting a continuance outweigh the best interest of the public and

the defendant in a speedy trial, 18 U.S.C. ' 3161(h)(7)(B)(iv), for

the reasons set forth in the motion.

      SO ORDERED.



                                          ___________________________
                                          Joseph N. Laplante
                                          Chief Judge

Date:    April 11, 2012

cc:   Donald A. Kennedy, Esq.
      Richard F. Monteith, Jr., Esq.
      John T. Pendleton, Esq.
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